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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 THE UNITED STATES OF AMERICA,                 CRIMINAL NO. 17-20183

                    Plaintiff,                 HON. MARK A. GOLDSMITH
 v.

 D-2 JANETTE GAGGO TAWFIK,
 D-3 SHELVIE LEWIS AVERY,
     A/K/A “Q,”
 D-4 TERRY PRUITT,
     a/k/a “T,”
 D-5 HAROLD LASHAWN NERO,
     a/k/a “NEPHEW,”
 D-6 MICHAEL ANTHONY RANDOL,
     a/k/a “MAN,”
 D-7 CHARLES THOMAS FORD JR.,
     A/K/A “CHUCK D,”
 D-8 JACK HANA YAKO,
 D-9 KEMAL GABRAIL,

                    Defendants.
                          /


  MOTION FOR CONTINUANCE AND FINDING EXCLUDABLE DELAY

       The government moves this Court for a finding under 18 U.S.C. § 3161(h)(7)

 of excludable delay, from the most recent status conference (May 23, 2018) to the

 last anticipated date for the government to provide Defendants with their requested

 discovery review list (November 14, 2018). There is no pending trial date.



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                        BRIEF IN SUPPORT OF MOTION

       Defendants’ activities at the Victory Inn created a large volume of

 surveillance video (the “Victory Inn Video”). Defendants—to ease their review of

 this discovery—requested that the government provide them with rolling lists of

 potentially inculpatory video segments (the “Review Lists”). Defendants’ requested

 lists have created delay in the proceedings, and so all Defendants asked for a trial

 date in the fall of 2019. Despite this, at least two defendants have refused to waive

 their Speedy Trial Act rights even to November 14, 2018—which is an agreed upon

 and subsequent production date for the Review Lists.

 I.    FACTS

       Defendants appeared and were arraigned at different times on the pending

 superseding indictment: (1) Kemal Gabrail on August 25, 2017; (2) Jack Hana Yako

 on August 28, 2017; (3) Charles Thomas Ford, Jr. on September 5, 2017; (4) Harold

 Lashawn Nero on September 28, 2017; (5) Janette Gaggo Tawfik on October 4,

 2017; (6) Terry Pruitt on October 5, 2017; (7) Michael Anthony Randol on October

 6, 2017; and (8) Shelvie Lewis Avery on October 10, 2017. One Defendant (Darrick

 Bell) has avoided arrest. Ford was the latest defendant to make his initial appearance

 on an indictment.

       As a result of the complex discovery, the parties stipulated and agreed to

 waive the period from May 23, 2017 to November 14, 2017.

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       On November 14, 2017, the court held a status conference with Defendants

 and the government to address the rate of video review and speedy trial issues. The

 parties agreed that the government would provide defense counsel with Review Lists

 beginning on February 14, 2018, and then on May 14, 2018, continuing every 90

 days as needed to complete the review. (R. 171: Stipulation and Order for Discovery

 Procedures and Excludable Delay, Pg ID 482-83). The parties agreed to exclude the

 time from November 14, 2017 to the May 23, 2018 status conference. (Id. at Pg ID

 483). The government timely provided the first Review List with 567 events.

       On April 24, 2018 the parties filed a joint statement on the status of discovery,

 and all Defendants estimated that they would not be prepared for trial until “the fall

 of 2019.” (R. 184: Joint Statement Regarding Discovery, Pg ID 582). The

 government provided the second Review List with 1,144 events on May 14, 2018.

       The Court held a second status conference on May 23, 2018. At the hearing,

 Tawfik, Pruitt, Yako, and Gabrail agreed to waive their speedy trial rights and to

 excludable delay through November 14, 2018. Nero and Randol refused to waive

 their speedy trial rights. And Avery and Ford did not have attorneys physically

 present and could not take a position on the record.

 II.   ARGUMENT

       Defendants requested that the government provide them with the Review

 Lists, creating delay to no less than November 14, 2018, and then asked for a trial

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 date in the fall of 2019. Some of those defendants (Nero and Randol, at least) then

 refused to waive their requested delay. With the case’s complexity and the

 Defendants roles in the delay, the Court should exclude the time from the status

 conference (May 23, 2018) to the last anticipated list (November 14, 2018). Given

 their requested trial date of late 2019, a subsequent exclusion may be necessary.

       The Speedy Trial Act requires commencement of trial within 70 non-

 excludable days from the later of the defendant’s first appearance or arraignment on

 indictment. See 18 U.S.C. § 3161(c)(1). In cases involving multiple defendants

 charged together, where “no severance has been granted, one speedy trial clock

 governs.” United States v. Cope, 312 F.3d 757, 776 (6th Cir. 2002). And “the

 excludable delay of one defendant is ascribed to that of all of his codefendants.” Id.

 at 776-77; see also United States v. Gardner, 488 F.3d 700, 717 (6th Cir. 2007) (“A

 defendant’s excludable time also includes co-defendants’ excludable time.”).

 Another aspect of the speedy trial clock is that the clock re-starts upon the issuance

 of a superseding indictment. United States v. Smith, 510 F. App’x 390, 393-94 (6th

 Cir. 2013). The date from which to begin the calculation becomes the later of the

 new indictment or appearance of a defendant. Id.

       On September 5, 2017, the Court arraigned Ford on the superseding

 indictment—he was the latest defendant to appear. And Shelvie Lewis Avery was

 arraigned on the superseding indictment on October 10, 2017. The speedy trial clock

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 would have begun to run on September 5, 2017, or October 10, 2017. But all

 Defendants have stipulated to waivers covering May 23, 2017 to November 14,

 2017, and then to May 23, 2018. So May 23, 2018, is the operative date.

       The Speedy Trial Act provides that a court may set a trial date outside of the

 Act’s 70-day rule “if the judge grant[s] such continuance on the basis of his findings

 that the ends of justice served by taking such action outweigh the best interest of the

 public and the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). And Section

 3161(h)(7)(A) does not require a defendant’s consent to the continuance. See United

 States v. Stewart, 628 F.3d 246, 254 (6th Cir. 2010).

       “To conduct a proper ends-of-justice analysis when granting a continuance, a

 district court must state in the record, either orally or in writing, its reasons for

 determining that granting the continuance outweighs the public’s and the

 defendant’s interest in a speedy trial, based on the factors set forth in (h)(7)(B).”

 United States v. Richardson, 681 F.3d 736, 739 (6th Cir. 2012). When granting an

 “ends of justice” continuance, a court may consider a number of factors, including

 complexity from the number of defendants or the nature of the prosecution, that it

 would make it unreasonable to expect adequate preparation for trial. See 18 U.S.C.

 § 3161(h)(7)(B); see also Richardson, 681 F.3d at 740 (“Defense counsel’s need for

 additional time to prepare an unusually complex case is an appropriate reason for

 granting a continuance.”).

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        The ends of justice continuance fits. The Court—with the parties’

 stipulation—and based on the volume of discovery, the number of defendants, and

 the expected length of the trial, found this case to be a “mega case” pursuant to the

 provisions of the Criminal Justice Act (CJA), 18 U.S.C. § 3006A. The discovery

 includes approximately 15,000 hours of video surveillance, telephone records, and

 anticipated Jencks material. At Defendants’ request, the government began

 reviewing the 15,000 hours of video it had provided to Defendants, and has so far

 provided lists with 1,711 potentially inculpatory events marked to aid Defendants in

 their video review. Delays in the proceedings stem from this process.

       Tawfik, Pruitt, Yako, and Gabrail agreed to waive their speedy trial right

 through November 14, 2018. These Defendants recognize that the failure to grant a

 continuance would deny them the reasonable time necessary for effective

 preparation, and would be to their disadvantage. Only Nero and Randol—despite

 requesting the Review Lists and a trial date in the fall of 2019—have refused on the

 record to waive their speedy trial rights and agree to excludable delay. Ford and

 Avery have not made their position on the record.




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 III.   CONCLUSION

        The Court should enter an order overruling Nero’s and Randol’s objections,

 and find that: (1) this is a complex case under Section 3161(h)(7)(B)(ii); (2) it is

 unreasonable with this complexity to expect adequate preparation prior to at least

 November 14, 2018; (3) four Defendants have agreed to exclude the time between

 May 23, 2018 and November 14, 2018; (4) that period is excludable under the

 Speedy Trial Act; and (5) the ends of justice served by taking such action outweigh

 the best interest of the public and the objecting Defendants in a speedy trial.

                                               Respectfully submitted,

                                               MATTHEW SCHNEIDER
                                               United States Attorney

                                               /s/ Jerome Gorgon
                                               JEROME GORGON
                                               Assistant United States Attorney
                                               211 West Fort Street, Suite 2001
                                               Detroit, Michigan 48226
                                               (313) 226-9676
                                               Jerome.gorgon@usdoj.gov
 Date: May 30, 2018




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                          CERTIFICATION OF SERVICE

       I hereby certify that on May 30, 2018, I electronically filed the foregoing

 paper with the Clerk of the Court using the ECF system which will send

 notification of such filing to all counsel of record.


                                                /s/ Jerome Gorgon
                                                JEROME GORGON
                                                Assistant United States Attorney
                                                211 West Fort Street, Suite 2001
                                                Detroit, Michigan 48226
                                                (313) 226-9676
                                                Jerome.gorgon@usdoj.gov




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